            Case 2:19-cv-01568-SS Document 11 Filed 03/06/19 Page 1 of 1 Page ID #:249
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                                                            CASE NUMBER:
Host International, Inc.,
                                                                                                   2:19-cv-01568-SS
                                                          PLAINTIFF(S)
                                     v.

Unite Here, Local 11, et al.,                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                                                 ELECTRONICALLY FILED DOCUMENTS
                                                      DEFENDANT(S) .

PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:

          3/5/19                                  8                            Memorandum in Support of Motion to Vacate
          Date Filed                              Doc. No.                     Title of Doc.
ERRORS WITH DOCUMENT
             A Certificate of Good Standing is not attached to the pro hac vice application
             Caption of document is incomplete/incorrect
             Case is closed
             Case number is incorrect or missing
             Document linked incorrectly to the wrong document/docket entry
             Document submitted in the wrong case
             Hearing information is missing, incorrect, or not timely
     ✔       Incorrect document is attached to the docket entry
             Incorrect event selected. Correct event to be used is
             Leave of court required for filing
             Proposed document was not submitted as separate attachment
             Title page is missing
             F.R.Civ.P 15 Amended pleading is untimely
             Local Rule 7.1-1 No Notice of Interested Parties and/or no copies
             Local Rule 7-19.1 Notice to other parties of ex parte application lacking
             Local Rule 11-6 Memorandum/brief exceeds 25 pages
             Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
             Local Rule 19-1 Complaint/Petition includes more than 10 Does or fictitiously named parties
             Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
             Local Rule 56-2 Statement of genuine disputes of material fact lacking
     ✔       Other:
             1. The attached document is a duplicate of the Notice of Motion and Motion of Petitioner Host International,
             Inc. to Vacate Arbitrator's Ruling at Docket No. 9.


 Note:     In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
           document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to
           this notice unless and until the Court directs you to do so.
                                                                               Clerk, U.S. District Court

Dated: 3/6/19                                                                        By: /s/ Hana Rashad, (213) 894-4551
                                                                                               Deputy Clerk
cc: Assigned District Judge and/or Magistrate Judge

                 Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

G-112A (10/13)                     NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
